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Duncan Hunter’s Guilty Plea: Answers
to 5 Crucial Questions

Mr. Hunter, a Republican congressman known for his hard-line views and early support for President Trump, pleaded guilty on
Tuesday to a crime that could end his political career.

By Ruth Marvin Webster and Patrick J. Lyons

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SAN DIEGO — Representative Duncan D. Hunter, Republican of California, pleaded guilty in federal court on Tuesday to conspiracy to
steal campaign funds. The guilty plea threatened to end what had once been seen as a promising career in conservative politics.

Mr. Hunter, who had insisted for more than a year that the charges against him were unfounded, stood in the packed courtroom in San
Diego beside his lawyer, Paul Pfingst, and listened expressionlessly as the charge was read aloud, accusing him of using campaign funds
to pay personal expenses. Other than answering “guilty” to the judge’s question about his plea, Mr. Hunter did not speak during the
hearing, which lasted less than 10 minutes.

As he left the courthouse afterward, he told a crowd of reporters that he had “made mistakes,” but he did not respond to questions.

Emily Allen, one of three federal prosecutors on the case, rejected that characterization, saying after the hearing that “this is not a case
about mismanagement or accounting errors or mistakes” and commending the FB.I. for “rooting out corruption”

When he was indicted in 2018, Mr. Hunter called the investigation a “witch hunt” and said he was a victim of “misinformation and
salacious headlines.” Prosecutors dismissed those claims as well.

“No figure, regardless of what office they occupy, should be allowed in this country to cry ‘witch hunt’ or ‘fake news’” to distract attention
from criminal wrongdoing, Phillip Halpern, another of the prosecutors, said outside the courthouse.

Mr. Halpern said the prosecution was satisfied with obtaining a guilty plea on a single charge because convicting Mr. Hunter on the dozens
of other charges in the indictment would not have increased his sentence. “We got the major count,” he said.

Mr. Hunter is scheduled to be sentenced on March 17 and faces a maximum of five years in prison, though a lesser sentence is more likely.
Mr. Halpern said prosecutors would seek prison time but would not ask for the minimum Mr. Hunter serves to exceed one year.

Here is what you need to know about the case.

Who is Duncan Hunter?

Mr. Hunter, who will turn 43 this week, has represented a swath of San Diego County in Congress since 2009, when he succeeded his
father, Duncan L. Hunter, a 14-term congressman who ran for the Republican presidential nomination in 2008.

The younger Mr. Hunter joined the Marines after the terrorist attacks of Sept. 11, 2001. He served as an artillery officer during combat
deployments in Iraq and Afghanistan, and remained in the Marine Reserves after being elected to Congress.

Mr. Hunter is married and has three children.

What kind of lawmaker has he been?

Mr. Hunter is known for his hard-line views on immigration and national security and for his brash, combative style. Staff members
describe him as having been “Trump before Trump,” and he was one of the first Republican lawmakers to endorse Donald J. Trump for
president in 2016. He was reportedly considered for several national security posts in the Trump administration.

He has closely identified himseif with veterans and the military, to the point that he was chastised by the Marine Corps for unauthorized
use of its insignia in his campaign mailings. He publicly championed the cause of Chief Petty Officer Edward Gallagher, the Navy SEAL at
the center of a war crimes case whom Mr. Trump protected from punishment and demotion.

Mr. Hunter repeatedly criticized the Navy for prosecuting Chief Gallagher, who was acquitted of most charges but convicted of posing for a
trophy photo with the corpse of an ISIS fighter. “I took a picture just like that when I was overseas,” Mr. Hunter said at a town hall-style
meeting in June.

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In Washington, Mr. Hunter became a fixture on the bar scene, with a reputation for spending lavishly on fancy dinners and parties and
piling up thousands of dollars in tabs — behavior that contrasted with his demeanor at home in the San Diego suburbs, where he was
known as a helpful neighbor and light social drinker.

What was he accused of?

In August 2018, a federal grand jury in San Diego indicted Mr. Hunter and his wife, Margaret Hunter. They were charged with converting
more than $250,000 in campaign funds to pay for personal expenses, and with filing false campaign finance records with the Federal
Election Commission.

The indictment details scores of instances, beginning in 2009 and continuing through 2016, in which the Justice Department said the
Hunters spent campaign money on themselves. The department said that the improper use of campaign funds continued despite
“numerous warnings” and “repeated inquiries” from Mr. Hunter’s campaign treasurer about questionable purchases.

“The indictment alleges that Congressman Hunter and his wife repeatedly dipped into campaign coffers as if they were personal bank
accounts, and falsified RE.C. campaign finance reports to cover their tracks,” Adam L. Braverman, the United States attorney for the
Southern District of California, said in a statement.

How did Mr. Hunter respond to the charges?

Initially, he pleaded not guilty to all the charges, denied wrongdoing, and said he believed that the indictment was a politically motivated
attack. “This is the new Department of Justice,” he told a television news reporter. “This is the Democrats’ arm of law enforcement. That’s
what’s happening right now, and it’s happening with Trump and it’s happening with me.”

Within days, he sought to blame his wife for any spending irregularities, saying in a Fox News interview that she was responsible for the
couple’s finances. “Whatever she did, that will be looked at, too, I’m sure,” he said. “I didn’t do it. I didn’t spend any money illegally.”

Under pressure from the Republican leadership in the House, he stepped down from all his committee assignments, but he insisted that he
would not resign or give up his bid for another term in the 2018 midterm election, which was less than three months away.

What has happened since the indictment?

Though Mr. Hunter won re-election in 2018 despite the charges, it was by a narrow margin of less than four percentage points in an
overwhelmingly red district. His political vulnerability prompted a well-known former Republican House member, Darrell Issa, to
announce that he would challenge Mr. Hunter for the seat in 2020.

Mr. Hunter’s legal vulnerability also appeared to increase in June when his wife agreed to plead guilty to one charge and cooperate with
prosecutors, not least by acknowledging in open court that she and her husband had conspired to violate campaign finance law.

Margaret Hunter is scheduled to be sentenced in April. Mr. Halpern, the federal prosecutor, said on Tuesday that Mr. Hunter’s guilty plea
would not affect her case.

Shortly after Ms. Hunter’s guilty plea, prosecutors said in a new court filing that Mr. Hunter had used campaign funds for a series of
extramarital affairs, including one with a lobbyist that began soon after he took his seat in Congress in 2009. Prosecutors said that they
had offered to keep the details out of public view if Mr. Hunter agreed to acknowledge the personal nature of that spending and not try to
assert in court that it was work-related, but that Mr. Hunter had refused the offer.

Mr. Hunter, whose trial on the dozens of counts in the indictment was scheduled to begin on Jan. 22, revealed on Monday in an interview
with a San Diego television station that he had decided to plead guilty to one count and spare his family the ordeal of a trial. It was not
immediately clear if he would step down from his seat in Congress.

Ruth Marvin Webster reported from San Diego, and Patrick J. Lyons from New York.

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